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 UNITED STATES DISTRICT COURT
 NORTHERN DISTRICT OF NEW YORK

                                             Civil Action No.: 5:16-CV-1387
 KAREN ANDREAS-MOSES,                        (BKS/DEP)
 ELIZABETH WAGNER, JACQUELINE
 WRIGHT, MIKAELA DELPHA, CRYSTAL
 PARROT, STEPHANIE WEST, JOSEPH J.
 WOJCIK, TINA PALMER, KEVIN TAYLOR, and
 AMY COOK on behalf of themselves and all
 Others similarly situated,

                   Plaintiffs,               Return Date: July 6, 2017, 10:00 a.m.

       vs.

 HARTFORD FIRE INSURANCE COMPANY,

                   Defendant.


    MEMORANDUM OF LAW IN SUPPORT OF THE HARTFORD’S RULE 12(b)(3)
        MOTION TO DISMISS PURSUANT TO THE FIRST-FILED RULE
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         The parties and claims in this case are substantially similar to those of an earlier-filed

 case in the Middle District of Florida, Allen, et al. v. Hartford Fire Insurance Company, Civil

 Action No. 6:16-cv-01603. The plaintiffs in the present action and the plaintiffs in Allen have

 brought overtime misclassification claims on behalf of a group of employees who processed

 disability claims for The Hartford. The present action involves overtime claims under New York

 state law, while Allen involves overtime claims under the Fair Labor Standards Act (“FLSA”).

 However, the central issue is the same in both cases: whether employees who handle(d)

 disability claims for The Hartford were exempt from the requirement that they be paid overtime

 compensation. In these circumstances, the Second Circuit has long recognized that it is

 appropriate to dismiss (or, in the alternative, to stay or transfer) a later-filed action pursuant to

 the first-filed rule in order to spare the parties and courts from wasteful litigation and to promote

 the efficient resolution of disputes. Denying this motion would require the Court to tolerate, if

 not promote, duplicative judicial efforts and potentially different results on nearly identical

 issues of law among nearly identical parties. Thus, The Hartford respectfully requests that the

 Court dismiss this action, or, in the alternative, transfer it to the Middle District of Florida, where

 it may be consolidated with Allen.1

                                           BACKGROUND

         On September 13, 2016, ten current and former Hartford employees filed a complaint in

 the Middle District of Florida titled Allen et. al v. Hartford Fire Ins. Co., Civil Action No. 6:16-

 CV-01603-RBD-KRS, seeking overtime pay under the FLSA on behalf of Hartford employees

 who handled disability claims. On September 28, 2016, the Allen plaintiffs filed an Amended

 1
  The Hartford is simultaneously filing a partial motion to dismiss claims by two Plaintiffs on the
 grounds that the claims could have been asserted in a prior overtime action in which the two
 were parties, Monserrate, et al. v. Hartford Fire Insurance Company, Case No. 6:14-cv-149-
 ORL-18GJK (M.D. Fla.).
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 Complaint. (Allen Dkt. 11.) The Allen plaintiffs allege that they “were not exempt under any

 exemption pursuant to 29 U.S.C. § 213,” and The Hartford therefore “violated the law . . . [by]

 failing to pay employees overtime compensation for hours worked in excess of forty (40) hours

 per week.” (Allen Dkt. 11, ¶¶ 16, 23.) The Allen plaintiffs seek to represent “all current, former,

 and future salaried employees who process and/or processed disability claims . . .” nationwide.

 Id. ¶ 4. Six Plaintiffs in this case have joined the Allen case as plaintiffs: Andreas-Moses on

 September 20, 2016 (Allen Dkt. 8); Cook on May 8, 2017 (Allen Dkt. 141); Wagner on

 November 15, 2016 (Allen Dkt. 39); Stephanie (West) Wojcik on March 7, 2017 (Allen Dkt.

 124); Joseph Wojcik on March 7, 2017 (Allen Dkt. 125); and Jacqueline Wright on November

 15, 2016 (Allen Dkt. 38).

        On November 18, 2016, four current and former Hartford employees filed this lawsuit

 seeking overtime pay under New York state law on behalf of a would-be class of Hartford

 employees who handled disability claims. (Dkt. 1.) Plaintiffs filed an Amended Complaint on

 December 19, 2016, adding two plaintiffs. (Dkt. 7.) Like Allen, Plaintiffs seek to represent

 “employees of Defendant who process and/or processed disability claims.” (Am. Compl., ¶ 1,

 n.1.) Also like Allen, Plaintiffs allege that they were “misclassified as exempt from overtime”

 and therefore “each Plaintiff was not paid overtime.” Id. ¶ 17.

        On December 12, 2016, the Allen plaintiffs filed an Amended Notice of Pendency of

 Other Actions in which they listed the present action as “related” to Allen. (Allen Dkt. 50.)

        On December 14, 2016, the Allen plaintiffs moved to conditionally certify a nationwide

 class of “all current, former, and future exempt employees who process(ed) disability claims.”

 (Allen Dkt. 51, at 6.) At the time of filing of plaintiffs’ motion for conditional certification,




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 “Plaintiffs from Florida, Connecticut, Minnesota and New York ha[d] already opted-in to th[e]

 action.” Id. at 5. The motion is still pending.

        On February 23, 2017, the parties filed a proposed civil case management plan in this

 action. (Dkt. 15.) The parties appeared before Magistrate Judge Peebles on March 2, 2017 for

 an initial pretrial conference and the Court stayed both the deadline for The Hartford to respond

 to the Complaint and the mediation deadline. (Dkt. 16.)

        On May 17, 2017, Plaintiffs filed a Second Amended Complaint adding six Plaintiffs,

 removing two Plaintiffs (Steven Wright and Lisa Morgan), and adding a claim that The Hartford

 violated New York law requiring wage statements. (Dkt. 25.) The parties stipulated to

 Plaintiffs’ filing, but The Hartford preserved all objections, including but not limited to the right

 to file a Rule 12 motion and/or a motion to dismiss pursuant to the first-filed doctrine. (Dkt. 23.)

 The deadline for The Hartford to respond to the Second Amended Complaint is May 31, 2017.

 (Dkt. 27.)2




 2
   This motion is a proper initial response to the Second Amended Complaint, and The Hartford is
 not required to answer or otherwise respond to the Second Amended Complaint until the Court
 resolves this motion. See Dekom v. N.Y., No. 12-CV-1318 JS ARL, 2013 WL 3095010, at *5
 (E.D.N.Y. June 18, 2013) (denying plaintiffs’ request for default and concluding defendants’
 partial motion to dismiss pursuant to Rule 12 postponed time to answer until fourteen days after
 motion was decided), aff'd on other grounds, 583 F. App'x 15 (2d Cir. 2014). Nevertheless, if
 the Court deemed it necessary for The Hartford to answer before the Court ruled on this motion,
 The Hartford could file an answer on an expedited basis.


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                                            ARGUMENT

 I.     THE COURT SHOULD DISMISS, TRANSFER TO THE MIDDLE DISTRICT OF
        FLORIDA, OR STAY PLAINTIFFS’ CLAIMS IN ACCORDANCE WITH THE
        “FIRST-FILED” RULE.

        A.      When Competing Lawsuits Have Been Filed In Different Courts, The Later-
                Filed Suit Should Be Dismissed.

        Under the first-filed rule, “[w]here there are two competing lawsuits, the first suit should

 have priority.” Emp’rs Ins. of Wausau v. Fox Entm't Grp., Inc., 522 F.3d 271, 274-75 (2d Cir.

 2008); Curtis v. Citibank, N.A., 226 F.3d 133, 139 (2d Cir. 2000) (“[A] district court may stay or

 dismiss a suit that is duplicative of another federal court suit.”). Lawsuits are competing where

 “the first and subsequently filed case(s) have either identical or substantially similar parties and

 claims.” Wyler-Wittenberg v. MetLife Home Loans, Inc., 899 F. Supp. 2d 235, 244 (E.D.N.Y.

 2012); see also In re Cuyahoga Equip. Corp., 980 F.2d 110, 116-17 (2d Cir. 1992) (“This rule

 usually applies when identical or substantially similar parties and claims are present in both

 courts.”). This rule is subject to two exceptions: “(1) where the ‘balance of convenience’ favors

 the second-filed action, . . . and (2) where ‘special circumstances’ warrant giving priority to the

 second suit.” Emp’rs Ins. of Wausau, 522 F.3d at 275 (citing Motion Picture Lab. Technicians

 Loc. 780 v. McGregor & Werner, Inc., 804 F.2d 16, 19 (2d Cir. 1986) and First City Nat'l Bank

 & Trust Co. v. Simmons, 878 F.2d 76, 79 (2d Cir. 1989)).

        B.      The Parties And Claims In Allen And The Present Case Are Substantially
                Similar.

        The Court3 should apply the first-filed rule here because the parties and claims in Allen

 and Andreas-Moses are substantially similar. See Wyler-Wittenberg v. MetLife Home Loans,

 3
   A court in a second-filed case may rule on a motion seeking dismissal pursuant to the first-filed
 rule. See, e.g., PPC Broadband, Inc. v. PerfectVision Mfg., Inc., No. 5:13-CV-0134 GTS/DEP,
 2013 WL 3229620, at *4 (N.D.N.Y. June 25, 2013) (granting motion to dismiss pursuant to first-
 filed rule where substantially similar action was filed earlier in another district).


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 Inc., 899 F. Supp. 2d 235, 244 (E.D.N.Y. 2012) (granting motion to transfer suit raising FLSA

 and NYLL claims to California federal court where three prior FLSA suits were pending). For

 the first-filed rule to apply, “the issues need not be identical, and the named parties need not be

 entirely the same provided that they represent the same interests.” Int'l Controls &

 Measurements Corp. v. Honeywell Int'l, Inc., No. 5:12-CV-1766 LEK/ATB, 2013 WL 4805801,

 at *14 (N.D.N.Y. Sept. 9, 2013); Wyler-Wittenberg, 899 F. Supp. 2d at 244 (“Importantly,

 application of the rule does not require identical parties in the cases, but merely requires

 substantial overlap.”) (internal citation omitted).

         The Allen and Andreas-Moses cases involve nearly identical parties. The cases involve

 the same defendant, The Hartford, and substantially similar (some identical) plaintiffs. The

 plaintiffs in both Allen and Andreas-Moses seek to represent the same group of employees: those

 who “process and/or processed disability claims.” Compare Am. Compl., ¶ 1, n.1, with Allen

 Dkt. 11, ¶ 4. Moreover, six of the ten Andreas-Moses Plaintiffs are already plaintiffs in Allen.

 Thus, for purposes of a first-filed motion, the parties are substantially the same. See Wyler-

 Wittenberg, 899 F. Supp. 2d at 244 (finding parties were substantially similar despite the fact that

 “seventy-five plaintiffs who opted-in as parties to the instant action are not the same plaintiffs as

 those in” the earlier filed cases, where plaintiffs in each matter held “similar positions”); Oleg

 Cassini, Inc. v. Serta, Inc., No. 11 CIV. 8751 PAE, 2012 WL 844284, at *3 (E.D.N.Y. Oct. 14,

 2011) (granting first filed motion where “[t]he class description is the same, as are the potential

 plaintiffs”).

         Moreover, the claims in Allen and Andreas-Moses are substantially similar. Castillo v.

 Taco Bell of Am., LLC, 960 F. Supp. 2d 401, 404 (E.D.N.Y. 2013) (“The lawsuits need not be

 identical, but the claims and rights raised in the two actions must not differ substantially.”).




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 Allen involves an overtime misclassification claim under the FLSA. Andreas-Moses involves an

 overtime misclassification claim under New York state law. Both of these claims center on the

 issue of whether employees who handle(d) disability claims for The Hartford were exempt from

 the requirement that they be paid overtime compensation.4 Moreover, “New York’s overtime

 provisions mirror or expressly adopt federal wage law,” thus, “federal courts evaluate New

 York’s executive exemption by reference to the FLSA and its attendant regulations.” Tate-Small

 v. Saks Inc., No. 12 CV 1008 HB, 2012 WL 1957709, at *2 (S.D.N.Y. May 31, 2012); Torres v.

 Gristede’s Operating Corp., 628 F.Supp. 2d 447, 456 n.4 (S.D.N.Y. 2008) (“New York’s

 overtime provisions expressly incorporate the FLSA exemptions.”). Therefore, any analysis of

 the New York state law claims in Andreas-Moses will necessarily rely on the same analysis as

 the FLSA claims in Allen.

        In Tate-Small, for example, the first-filed action in the Northern District of California

 involved overtime misclassification claims under the FLSA and California Labor Code. 2012

 WL 1957709, at *1. The second-filed action involved overtime misclassification claims under

 the FLSA and New York state law. Id. Though the claims were not identical, the court reasoned

 that the inclusion of FLSA claims “rendered the[] cases substantially similar.” Id. at *3 (“[T]he

 California court will apply the same substantive law to the [California] plaintiffs’ FLSA claims

 that this Court would apply to the New York and FLSA claims here.”). As such, the court

 applied the first-filed rule and transferred the second-filed action to the Northern District of

 California. Id. at *5. Although Allen does not involve claims under New York law, like Tate-

 Small, that is “insufficient to render the cases dissimilar.” Id. at *3; see also Wyler-Wittenberg,

 899 F. Supp. 2d at 245 (“the presence of New York state-law claims by some of the Plaintiffs in
 4
  Plaintiffs’ counsel recognize that the cases are related: they filed a Notice of Pendency of
 Related Actions in Allen that names Andreas-Moses as a related action. (Allen Dkt. 50.)


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 [the second-filed action] does not sufficiently distinguish it from the [first-filed] action so as to

 preclude application of the first-filed rule”) (internal quotations omitted); see also Ortiz v.

 Panera Bread Co., 2011 WL 3353432 *2 (E.D. Va. 2011) (noting that dismissing second case is

 “particularly appropriate in the context of competing FLSA collective actions, which threaten to

 present overlapping classes, multiple attempts at certification in two different courts, and

 complicated settlement negotiations”).

          C.     Neither Exception To The First-Filed Rule Applies.

          Neither exception to the first-filed rule -- “balance of convenience” or “special

 circumstances” -- applies here. In considering the “balance of convenience,” a court considers

 the same factors as it does when analyzing motions to transfer venue pursuant to 28 U.S.C. §

 1404(a). Emp’rs Ins. of Wausau, 522 F.3d at 275 (listing the following factors: “(1) the

 plaintiff's choice of forum, (2) the convenience of witnesses, (3) the location of relevant

 documents and relative ease of access to sources of proof, (4) the convenience of the parties, (5)

 the locus of operative facts, (6) the availability of process to compel the attendance of unwilling

 witnesses, [and] (7) the relative means of the parties.”); see also N.Y. Marine & Gen. Ins. Co. v.

 Lafarge N. Am., Inc., 599 F.3d 102, 113 (2d Cir. 2010). The balance of convenience factors do

 not favor this action. Most importantly, six of the ten Plaintiffs in this case are already plaintiffs

 in the Allen case. Thus, the majority of the Plaintiffs in this case have already chosen to litigate

 in the Middle District of Florida, and did so before this action was filed. In fact, two Plaintiffs --

 Karen Andreas-Moses and Mikaela Delpha -- participated in, and ultimately received a

 settlement in, another lawsuit in the Middle District of Florida against The Hartford.5 Plaintiffs’

 counsel is also located in Florida.


 5
     Monserrate, et al. v. Hartford Fire Insurance Company, Case No. 6:14-cv-149-ORL-18GJK.


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         Moreover, with respect to the convenience of witnesses and location of documents, while

  the Plaintiffs in this action reside in New York, it is not inconvenient to litigate in Florida,

  particularly where the majority of them have already chosen to do so, one more than once.

         The dismissal of this action will protect the parties “from having to litigate the same issue

  in multiple venues,” and avoid wasteful, duplicative litigation. See Wyler-Wittenberg, 899 F.

  Supp. 2d at 244 (“the Court notes that application of the ‘first-filed’ rule in this matter would

  serve its intended purpose in promoting the efficient resolution of duplicative litigation.”);

  Thomas v. Apple-Metro, Inc., No. 14-CV-4120 VEC, 2015 WL 505384, at *4 (S.D.N.Y. Feb. 5,

  2015) (“There is simply no reason for this Court to decide nearly identical questions of law and

  fact as those now being adjudicated in the [pending action], with regard to the same requested

  relief, the same Defendants and the same class of plaintiffs.”); Oleg Cassini, Inc. v. Serta, Inc.,

  No. 11 CIV. 8751 PAE, 2012 WL 844284, at *3 (S.D.N.Y. Mar. 13, 2012) (“Because parties

  should be free from the vexation of concurrent litigation over the same subject matter, there is a

  strong presumption that a later lawsuit will be dismissed in favor of the first-filed lawsuit.”)

  (internal citation omitted).

         The “special circumstances” exception also does not apply. The “special circumstances”

  that warrant giving priority to a second-file suit “are quite rare.” Emp’rs Ins. of Wausau, 522

  F.3d at 275. One special circumstance justifying departure from the first-filed rule “exists when

  the first-filed suit is an improper anticipatory filing.” Adirondack Transit Lines, Inc. v.

  Greyhound Lines, Inc., No. 115CV01227LEKCFH, 2016 WL 5415772, at *2 (N.D.N.Y. Sept.

  28, 2016); see also Emp’rs Ins. of Wausau, 522 F. 3d at 275. The second is “where forum

  shopping alone motivated the choice of site for the first suit.” Emp’rs Ins. of Wausau, 522 F. 3d

  at 276 (citing William Gluckin & Co. v. Int'l Playtex Corp., 407 F.2d 177, 178 (2d Cir. 1969)).




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  Such “special circumstances” do not exist here. Allen, the first-filed case, was not an improper

  anticipatory action, see Emp’rs Ins. of Wausau, 522 F. 3d at 276 (improper anticipatory action is

  “an action filed in response to a specific, direct threat of litigation”), and forum-shopping alone

  did not motivate the Allen plaintiffs’ choice of venue. The Hartford has offices in Florida and

  many of the witnesses are located there.

                                             CONCLUSION

         The Hartford respectfully requests that the Court dismiss Plaintiffs’ Complaint to serve

  the interests of judicial economy, to avoid concurrent litigation of nearly identical class and

  collective actions, and to prevent the possibility of inconsistent rulings. In the alternative, The

  Hartford requests that the Court stay this action or transfer it to the Middle District of Florida

  where it can be related to (and potentially consolidated with) the Allen action.




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   Dated: Boston, Massachusetts                      SEYFARTH SHAW LLP
          May 30, 2017


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                                  CERTIFICATE OF SERVICE

         I hereby certify that on this 30th day of May, 2017, I electronically filed the foregoing
  with the Clerk of the Court by using the CM/ECF system. I also certify that the foregoing
  document is being served this day on all counsel of record via transmission of Notices of
  Electronic Filing generated by CM/ECF.

                                        /s/Hillary J. Massey
                                        Hillary J. Massey
